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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )             CASE NO. 8:03CR163
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )                    ORDER
                                               )
JORGE A. ARONJA-INDA,                          )
                                               )
              Defendant.                       )

       This matter is before the Court on the Defendant's motion regarding a potential

reduction in sentence under 18 U.S.C. § 3582(c)(2) (Filing No. 194). Defense counsel has

been appointed and entered an appearance (Filing No. 196). The probation office has

prepared a worksheet recommending no further reduction.

       IT IS ORDERED that the parties must file a stipulation or separate briefs stating

their positions on or before April 16, 2012.

       DATED this 15th day of March, 2012.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   Chief United States District Judge
